         Case 2:24-cr-00492-SPG                    Document 20              Filed 08/30/24        Page 1 of 1 Page ID #:85
                   UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
                               CRIMINAL MINUTES – $55$,*10(17


Case No.      2:24-CR-00492-SPG                                                                          Date: 8/30/2024
Present: The+RQRUDEOH Jean P. Rosenbluth
Interpreter N/A                                                                      /DQJXDJH   N/A
Bea Martinez                                           CS 08/30/2024                                  Ian Yanniello & Xiohan Cai
                    Deputy Clerk                                  Court Reporter / Recorder                  Assistant U.S. Attorney


 U.S.A. v. Defendant(s)       ✔   Present Appearing on Summons                  Attorneys for Defendants:   ✔   Present   Retained
Mark Chavez                                                                     Matthew Binninger
Proceedings: $UUDLJQPHQWRI                ✔    $VVLJQPHQWRI&DVH              $SSRLQWPHQWRI&RXQVHO
'HIHQGDQWDQGRU                                ,QLWLDO$SSHDUDQFH

* Court does not question defendant as to true name.
* Defendant is arraigned under name on charging document.
* Defendant acknowledges having read the charging document and discussed it with counsel.
* Waiver of Indictment is submitted, accepted by the Court, and filed.
* Plea agreement had been filed.
* Victims have been notified.
* This case is assigned to Judge Sherilyn Peace Garnett.
* Counsel are ordered to contact the court clerk Patricia Gomez at (213) 894-2309 regarding the setting of dates
for the guilty plea and all further proceedings. Judge Garnett is located in 5C, Los Angeles - United States
Courthouse, 350 W 1st Street, CA 90012-4565.




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                                                                                         Initials of Deputy Clerk BM by  CGM

CR-11$                                              Criminal Minutes – $UUDLJQPHQW                                                     3DJH
